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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )                        ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court because defendant

Christopher Scott has filed a notice of appeal (Filing No. 1250)

of this Court’s order and judgment (Filing No. 1246) denying his

successive motion to vacate, set aside or correct his sentence

pursuant to 28 U.S.C. § 2255 (Filing No. 1243).

            “Before presenting a second or successive motion, the

moving party must obtain an order from the appropriate court of

appeals authorizing the district court to consider the motion, as

required by 28 U.S.C. § 2255, para. 8.”           28 U.S.C. § 2255 Rule 9.

This Court denied Scott’s motion because it was, in effect, a

third, successive § 2255 motion, and the Court did not have an

order from the Eighth Circuit authorizing the Court to consider

Scott’s motion.     Accordingly,
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            IT IS ORDERED that no certificate of appealability will

be issued by this Court.      Defendant is permitted to proceed on

appeal in forma pauperis.

            DATED this 12th day of February, 2014.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
